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                                                  FILED: August 9, 2010


                  UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT


                         ___________________

                             No. 10-1471
                         (1:10-cv-00865-BEL)

                         ___________________

FRANCIS AKINRO

                      Plaintiff - Appellant

v.

WALMART DOES

                      Defendant - Appellee


                         ___________________

                           RULE 45 MANDATE
                         ___________________

     This Court's order dismissing this appeal pursuant to Local

Rule 45 takes effect today.

     This constitutes the formal mandate of this Court issued

pursuant to Rule 41(a) of the Federal Rules of Appellate

Procedure.


                                         /s/Patricia S. Connor, Clerk
